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           ORDERED in the Southern District of Florida on December 30, 2024.




                                                                        Laurel M. Isicoff, Judge
                                                                        United States Bankruptcy Court
___________________________________________________________________________




                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                                 MIAMI DIVISION
                                                www.flsb.uscourts.gov
               In re:                                                     Chapter 11

               SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

                     Debtors.                                             (Jointly Administered)
               _______________________________/

                  ORDER APPROVING SECOND SUPPLEMENT TO FIRST AND FINAL FEE
                APPLICATION FOR ALLOWANCE AND PAYMENT OF COMPENSATION AND
               REIMBURSEMENT OF EXPENSES FOR THE LAW FIRM OF DGIM LAW, PLLC AS
                       COUNSEL FOR THE CHAPTER 11 DEBTORS [ECF NO. 153]

                        THIS MATTER came before the Court on the Second Supplement to First and Final Fee

           Application for Allowance and Payment of Compensation and Reimbursement of Expenses for the



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            The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
           The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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Law Firm of DGIM, Law, PLLC (“DGIM”) as Counsel for the Chapter 11 Debtors [ECF No. 153]

(the “Second Supplement”) for the Chapter 11 Debtors, Shiftpixy, Inc., Shiftpixy Staffing, Inc.

and ReThink Human Capital Management, Inc. (collectively, the “Debtors”).

       In the Second Supplement, DGIM seeks award of fees and reimbursement of expenses

incurred from December 16, 2024 through December 23, 2024, in the amount of $28,413.50 for

fees, $3,421.78 for expenses.

       The Court, having reviewed the Second Supplement and pleadings in this case, taking into

consideration 11 U.S.C. § 330 and each of the factors that govern the reasonableness of fees as set

forth in In re First Colonial Corp. of America, 544 F.2d 1291 (5th Cir. 1977) and Johnson v.

Georgia Highway Express, 488 F.2d 714 (5th Cir. 1974), and based on the record, it is,

       ORDERED as follows:

       1.      The Second Supplement is APPROVED, on a final basis.

       2.      DGIM is awarded on a final basis (i) (ii) 100% of fees sought in the Second

Supplement in the amount of $28,413.50, 100% reimbursement of expenses in the amount of

$3,421.78 for a total award of $31,835.28 (the “Second Supplemental Fee Award”).

       3.      The Debtor is authorized to pay the amounts allowed herein, DGIM is authorized

to immediately apply the prepetition retainer to the amounts set forth herein.

       4.      In making the foregoing award, the Court has evaluated the factors set forth in In

re: First Colonial Corp., 544 F.2d 1291 (5th Cir. 1977) and Johnson v. Georgia Highway Express,

Inc., 488 F.2d 714 (5th Cir. 1974), and finds that the amounts awarded herein represent reasonable

compensation for actual and necessary services rendered and expenses incurred by DGIM.

       5.      This Court shall retain jurisdiction with respect to all matters relating to the

interpretation or implementation of this Order.

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Submitted by:

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[Attorney Marcushamer is hereby directed to serve a copy of this Order on all parties and file a
certificate of service with the Court within 3 days of entry of this Order.]




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